
Graves, J.
From an inspection of the record in this case, it would seem that defendant in error was prosecuted before a Justice of the .Peace in the name of plaintiffs in error, to recover certain penalties claimed to have been incurred by Navarre under the statute against obstructing highways (§ 1, Ch. 28, Comp. L.), and the statute to protect bridges from injury (§ 5, Ch. 24, Comp. L.); and that the Justice rendered judgment against him for twelve dollars damages, and ten dollars costs of suit: That an appeal was taken to the Court below, when the cause was discontinued by oral *3consent in open court, and judgment awarded and costs taxed as follows:
“The People of the State or Michigan, v. “Peter Nayarre.
“ This cause having been heretofore discontinued in open court, and the question of costs having been reserved, and a motion for costs against the plaintiff and Joseph Loranger, their surety, having heretofore been argued by counsel, for the respective parties, and due deliberation being had thereon, therefore, it is ordered and adjudged by the Court now here that the said defendant do recover from and against the said' plaintiffs and Joseph Loranger, their surety, for his costs and charges about his defense in this behalf expended to be taxed, and that he have execution against Joseph Loranger therefor. Be it remembered that afterwards, to wit, on the 10th day of June, 1869, the defendant’s costs were duly taxed at the sum of seventy-seven dollars and twenty-five cents.”
The only evidence of Loranger’s connection with the proceedings is found in this award of judgment.
The writ of error appears to have" been sued out in the name of the people only, and the assignments of error purport to be by them alone. It is therefore apparent that Loranger is not a party in this Court.
In suing out the writ of error, and in assigning errors in this Court, neither the Prosecuting Attorney nor the Attorney General is named as attorney for the People, and these proceedings appear to have been conducted exclusively by other counsel.
It is seen, therefore, that the People are made to appear in this record as plaintiffs in error, without the intervention of any official representative, but through the procurement and intervention of an unofficial person. But the plaintiff *4in error can only appear in this class of cases by some public officer designated by law. They óannot be placed in the attitude of litigants in the courts at the will and by the action of private parties or attorneys.
The State can only be recognized by the courts as a suitor in legal proceedings through the agents or representatives appointed by law to speak and act in- its name in the matter in hand; and, unless in the given case the proper agent or representative is present, in legal contemplation the State is not present; and this presence of such agent or representative can be made known and attested only by the record. The State could only be made prosecutor upon the record in the case before the Justice by the intervention of the supervisor of the township in which the penal acts were done (§ 5122, Going. L.), or by that of the Prosecuting Attorney of the county (§ 898, Going. L.); while the latter was the official designated by law to represent the public in the Court below (section last cited)', and the State could not be made plaintiff in error in this Court except by the Attorney General (§ 180, Comp. Li).
While, therefore, the People are designated as plaintiffs in error in the papers before us, they are not present, indeed are not, according to legal apprehension, j)arties at all. We cannot, therefore, assume to pass upon the questions suggested upon these papers. We must consider the writ of error as improvidently issued, and dismiss it.
Campbell, Ch. J. and Cooley, J. concurred.
Christiancy, J. did not sit in this case.
